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                       AMENDED AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Dustin Thornton, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am employed by the Oklahoma Highway Patrol. I am a peace officer under the

laws of Oklahoma and have the authority to investigate motor vehicle collisions and to assist other

law enforcement agencies with the investigation of motor vehicle collisions. I have 17 years of

law enforcement experience. I have been employed with the Oklahoma Highway Patrol for the

past 12 years and graduated from the Oklahoma Highway Patrol Academy in 2009. I have attended

over 4500 hours of Law Enforcement continuing education. During my training, I have received

significant instruction in the field of vehicle collision investigations. During my career, I have

investigated over 500 motor vehicle collisions.

       2.      I am “an investigative or law enforcement officer of the United States" within the

meaning defined in 18 U.S.C. § 2510 (7), in that I am also a Task Force Officer assigned to the

Federal Bureau of Investigation (FBI) Oklahoma Safe Trails Task Force. I am authorized by law

to conduct investigations of traffic fatalities and collisions that occur in Indian Country as that

term is defined in 18 U.S.C. § 1151.

       3.      I make this affidavit in support of an application for a warrant to search information

that is stored at premises controlled by Google, an electronic communication service and remote

computing service provider headquartered in Mountain View, California. The information to be

searched is described in the following paragraphs and in Attachment A. This affidavit is made in

support of an application for a warrant under 18 U.S.C. § 2703(c)(1)(A) to require Google to

disclose to the Government the information further described in Attachment B.I. The Government
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will then review that information and seize the information that is further described in Attachment

B.II.

        4.       This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

        5.       Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of Title 18, United States Code Sections 13, 1151, and

1152 as well as a violation of Title 47, Oklahoma Statutes, Section 10-102.1, have been committed

by unknown person(s) There is also probable cause to search the information described in

Attachment A for evidence of these crimes and for the identity of the person(s) further described

in Attachment B.

                                          JURISDICTION

        6.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court is “a district court

of the United States . . . that has jurisdiction over the offense being investigated.” 18 U.S.C. §

2711(3)(A)(i).

        BACKGROUND RELATING TO GOOGLE AND RELEVANT TECHNOLOGY

        7.       Based on my training and experience, I know that cellular devices, such as mobile

telephone(s), are wireless devices that enable their users to send or receive wire and/or electronic

communications using the networks provided by cellular service providers.               Using cellular

networks, users of many cellular devices can send and receive communications over the Internet.

        8.       I also know that many devices, including but not limited to cellular devices, have

the ability to connect to wireless Internet (“wi-fi”) access points if the user enables wi-fi

connectivity. These devices can, in such cases, enable their users to send or receive wire and/or
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electronic communications via the wi-fi network. A tablet such as an iPad is an example of a

device that may not have cellular service but that could connect to the Internet via wi-fi. Wi-fi

access points, such as those created through the use of a router and offered in places like homes,

hotels, airports, and coffee shops, are identified by a service set identifier (“SSID”) that functions

as the name of the wi-fi network. In general, devices with wi-fi capability routinely scan their

environment to determine what wi-fi access points are within range and will display the names of

networks within range under the device’s wi-fi settings.

       9.      Based on my training and experience, I also know that many devices, including

many cellular and mobile devices, feature Bluetooth functionality. Bluetooth allows for short-

range wireless connections between devices, such as between a device such as a cellular phone or

tablet and Bluetooth-enabled headphones. Bluetooth uses radio waves to allow the devices to

exchange information. When Bluetooth is enabled, a device routinely scans its environment to

identify Bluetooth devices, which emit beacons that can be detected by devices within the

Bluetooth device’s transmission range, to which it might connect.

       10.     Based on my training and experience, I also know that many cellular devices, such

as mobile telephones, include global positioning system (“GPS”) technology.               Using this

technology, the device can determine its precise geographical coordinates. If permitted by the

user, this information is often used by applications (apps) installed on a device as part of the apps’

operation.

       11.     Based on my training and experience, I know Google is a company that, among

other things, offers an operating system (“OS”) for mobile devices, including cellular phones,

known as Android. Nearly every device using the Android operating system has an associated
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Google account, and users are prompted to add a Google account when they first turn on a new

Android device.

       12.     In addition, based on my training and experience, I know that Google offers

numerous apps and online-based services, including messaging and calling (e.g., Gmail, Hangouts,

Duo, Voice), navigation (Maps), search engine (Google Search), and file creation, storage, and

sharing (e.g., Drive, Keep, Photos, and YouTube). Many of these services are accessible only to

users who have signed in to their Google accounts. An individual can obtain a Google account by

registering with Google, and the account identifier typically is in the form of a Gmail address (e.g.,

example@gmail.com). Other services, such as Maps and YouTube, can be used with limited

functionality without the user being signed into a Google account.

       13.     Based on my training and experience, I also know Google offers an Internet

browser known as Chrome that can be used on both computers and mobile devices. A user has

the ability to sign-in to a Google account while using Chrome, which allows the user’s bookmarks,

browsing history, and other settings to be uploaded to Google and then synced across the various

devices on which the subscriber may use the Chrome browsing software, although Chrome can

also be used without signing into a Google account. Chrome is not limited to mobile devices

running the Android operating system and can also be installed and used on Apple devices and

Windows computers, among others.

       14.     Based on my training and experience, I know that, in the context of mobile devices,

Google’s cloud-based services can be accessed either via the device’s Internet browser or via apps

offered by Google that have been downloaded onto the device. Google apps exist for, and can be

downloaded to, devices that do not run the Android operating system, such as Apple devices.
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       15.     According to my training and experience, as well as open-source materials

published by Google, I know that Google offers accountholders a service called “Location

History,” which authorizes Google, when certain prerequisites are satisfied, to collect and retain a

record of the locations where Google calculated a device to be based on information transmitted

to Google by the device. That Location History is stored on Google servers, and it is associated

with the Google account that is associated with the device. Each accountholder may view their

Location History and may delete all or part of it at any time.

       16.     Based on my training and experience, I know that the location information collected

by Google and stored within an account’s Location History is derived from sources including GPS

data and information about the wi-fi access points and Bluetooth beacons within range of the

device. Google uses this information to calculate the device’s estimated latitude and longitude,

which varies in its accuracy depending on the source of the data. Google records the margin of

error for its calculation as to the location of a device as a meter radius, referred to by Google as a

“maps display radius,” for each latitude and longitude point.

       17.     Based on open-source materials published by Google and my training and

experience, I know that Location History is not turned on by default. A Google accountholder

must opt-in to Location History and must enable location reporting with respect to each specific

device and application on which they use their Google account in order for that usage to be

recorded in Location History. A Google accountholder can also prevent additional Location

History records from being created at any time by turning off the Location History setting for their

Google account or by disabling location reporting for a particular device or Google application.

When Location History is enabled, however, Google collects and retains location data for each

device with Location Services enabled, associates it with the relevant Google account, and then
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uses this information for various purposes, including to tailor search results based on the user’s

location, to determine the user’s location when Google Maps is used, and to provide location-

based advertising. As noted above, the Google accountholder also has the ability to view and, if

desired, delete some or all Location History entries at any time by logging into their Google

account or by enabling auto-deletion of their Location History records older than a set number of

months.

        18.     Location data, such as the location data in the possession of Google in the form of

its users’ Location Histories, can assist in a criminal investigation in various ways. As relevant

here, I know based on my training and experience that Google has the ability to determine, based

on location data collected and retained via the use of Google products as described above, devices

that were likely in a particular geographic area during a particular time frame and to determine

which Google account(s) those devices are associated with. Among other things, this information

can indicate that a Google accountholder was near a given location at a time relevant to the criminal

investigation by showing that his/her device reported being there.

        19.     Based on my training and experience, I know that when individuals register with

Google for an account, Google asks subscribers to provide certain personal identifying

information. Such information can include the subscriber’s full name, physical address, telephone

numbers and other identifiers, alternative email addresses, and, for paying subscribers, means and

source of payment (including any credit or bank account number). In my training and experience,

such information may constitute evidence of the crimes under investigation because the

information can be used to identify the account’s user or users. Based on my training and my

experience, I know that even if subscribers insert false information to conceal their identity, this

information often provide clues to their identity, location, or illicit activities.
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       20.      Based on my training and experience, I also know that Google typically retains and

can provide certain transactional information about the creation and use of each account on its

system. This information can include the date on which the account was created, the length of

service, records of login (i.e., session) times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or closed), the methods used to connect

to the account (such as logging into the account via the provider’s website), and other log files that

reflect usage of the account. In addition, Google often has records of the Internet Protocol address

(“IP address”) used to register the account and the IP addresses associated with particular logins

to the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access the

account.

                                       PROBABLE CAUSE

       21.      On March 18, 2021, at 21:54 hours, a fatal traffic collision occurred at the

intersection of U.S. Highway 62 and South 460 Road in Cherokee County, Oklahoma. This

location is within the Eastern District of Oklahoma and within the definition of “Indian Country”

as it occurred within the boundaries of the Cherokee Nation reservation.

       22.      Affiant and other Troopers of the Oklahoma Highway Patrol were dispatched to the

scene. Based on our observation of evidence at the scene, including debris from a vehicle, and

speaking to witnesses, investigators determined that a female later identified as J            D       ,

was travelling southbound on South 460 Rd. on her bicycle and was attempting to cross U.S. 62,

when she was struck by an unknown vehicle travelling westbound on U.S. 62. D               was assisted

by another motorist until she was transported by air ambulance to St. John Hospital in Tulsa. She

later died from her injuries. D       was confirmed as a member of the Cherokee Nation.
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       23.     The location of the collision is a rural, four-lane highway separated by an

unimproved median. There are no traffic control devices. There are a small number of commercial

businesses and residences located near the intersection. I was able to retrieve surveillance video

from several nearby businesses. A review of the videos shows that the collision occurred at 21:54

hours and that shortly after the collision, the suspect vehicle pulled over to the shoulder of the

highway a short distance from the collision. The suspect vehicle stopped for approximately 10

seconds before resuming westbound travel on U.S. 62 and leaving the scene. In the one-minute

timespan after the collision, the videos show six other vehicles travelling through the collision

area. Five of the six vehicles are travelling eastbound.

       24.     Based on my training and experience, as well as a review of professional literature,

a vast majority of motorists not only own but use their smartphones while driving. In one of the

largest and most comprehensive distracted driving studies to date, involving the collection and

analysis of data from over 570-million trips driven by three million motorists over a three-month

time period, drivers used their smartphones in 88 out of every 100 trips. Cameron Jahn, Largest

Distracted      Driving       Behavior        Study,       Zendrive     (Apr.      17,      2017),

http://blog.zendrive.com/blog/distracted-driving/; Angie Schmitt, Study: Drivers with Smart

Phones Use Them Almost Every Time They Drive, StreetsBlogUSA (Apr. 17, 2017),

https://usa.streetsblog.org/2017/04/17/study-drivers-with-smart-phones-use-them-almost-every-

time-they-drive. Despite legislative efforts and public awareness campaigns to curb cellphone use

while driving, research suggests that the number of motorists who use their cellphones has been

trending upward. See, e.g., Jeff Plungis, Drivers Still Can’t Keep Hands Off Phones, Study Finds,

Consumer Reports (Jan. 24, 2019), https://www.consumerreports.org/car-safety/distracted-
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 driving-study-drivers-cant-keep-hands-off-phones (noting that in one study, the number of

 motorists using cellphones while driving increased 57 percent from 2014 to 2018).

          25.   Based on my training, experience, and a review of professional literature, a

 significant number of collisions occur as a result of distracted driving from a variety of sources,

 including cellphone use. See, e.g., Nat’l Highway Traffic Safety Admin., Distracted Driving 2018

 (2020)     available   at    https://crashstats.nhtsa.dot.gov/Api/Public/ViewPublication/812926.

 Additionally, it has also been my experience that persons involved in a collision often use their

 cellphone immediately or shortly after a collision if not to call emergency services, then to call

 family members or friends.

          26.   Based on the foregoing, I submit that there is probable cause to search information

 that is currently in the possession of Google and that relates to the devices that reported being

 within the Target Location described in Attachment A during the time period described in

 Attachment A for evidence of the crime(s) under investigation. The Target Location is a stretch

 of U.S. 62 with an approximate area of 1000’ by 170’. As noted in Attachment A, the time period

 requested is two minutes before and two minutes after the time of the collision. The information

 to be searched includes (1) identifiers of each device; (2) the location(s) reported by each device

 to Google and the associated timestamp; and (3) basic subscriber information for the Google

 account(s) associated with each device. Additionally, so at to minimize data collection of devices

 not belonging to the unknown driver, the Government is requesting that Google exclude any

 devices within the Target Location for longer than three minutes.

          27.   The proposed warrant sets forth a multi-step process whereby the Government will

 obtain the information described above. Specifically, as described in Attachment B.I:
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          a. Using Location History data, Google will identify those devices that it calculated

             were or could have been (based on the associated margin of error for the estimated

             latitude/longitude point) within the Target Location described in Attachment A

             during the time period described in Attachment A. For each device, Google will

             provide a anonymized identifier, known as a Reverse Location Obfuscation

             Identifier (“RLOI”), that Google creates and assigns to device for purposes of

             responding to this search warrant; Google will also provide each device’s location

             coordinates along with the associated timestamp(s), margin(s) of error for the

             coordinates (i.e,. “maps display radius”), and source(s) from which the location

             data was derived (e.g., GPS, Wi-fi, Bluetooth), if available. Google will not, in this

             step, provide the Google account identifiers (e.g., example@gmail.com) associated

             with the devices or basic subscriber information for those accounts to the

             Government.

          b. The Government will identify to Google the devices appearing on the list produced

             in step 1 for which it seeks the Google account identifier and basic subscriber

             information. The Government may, at its discretion, identify a subset of the

             devices. To the extent possible, the Government will request identifying subscriber

             information only for devices that are, or conceivably could be, travelling westbound

             on U.S. 62.

          c. Google will then disclose to the Government the Google account identifier

             associated with the devices identified by the Government, along with basic

             subscriber information for those accounts.
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        28.     This process furthers efficiency and privacy by allowing for the possibility that the

 Government, upon reviewing contextual information for all devices identified by Google, may be

 able to determine that one or more devices associated with a Google account (and the associated

 basic subscriber information) are likely to be of heightened evidentiary value and warrant further

 investigation before the records of other accounts in use in the area are disclosed to the

 Government.

        29.     Information provided by Google will then be used to cross-reference with the

 Oklahoma Tax Commission database to potentially identify the suspect vehicle registration and/or

 the driver of suspected vehicle.

                                          CONCLUSION

        30.     Based on the foregoing, I request that the Court issue the proposed warrant,

 pursuant to 18 U.S.C. § 2703(c), authorizing the search of the property described in Attachment A

 and directing direct Google to disclose to the Government any information described in Section I

 of Attachment B that is within its possession, custody, or control.

        31.     Additionally, because the warrant will be served on Google, who will then compile

 the requested records at a time convenient to it, reasonable cause exists to permit the execution of

 the requested warrant at any time in the day or night.



                                                      Dustin Thornton, Task Force Officer
                                                      Federal Bureau of Investigation

                                                 1st
 Sworn to and subscribed to before me this the _______day of April, 2021.



                                                      United States Magistrate Judge
                                                      Eastern District of Oklahoma
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                                          ATTACHMENT B

                                   Particular Items to Be Seized

    I.         Information to be disclosed by Google

          The information described in Attachment A, via the following process:

          1.      Google shall query location history data based on the Initial Search Parameters

 specified in Attachment A. For each location point recorded within the Initial Search Parameters,

 and for each location point recorded outside the Initial Search Parameters where the margin of

 error (i.e., “maps display radius”) would permit the device to be located within the Initial Search

 Parameters, Google shall produce to the Government information specifying the corresponding

 unique device ID, timestamp, location coordinates, display radius, and data source, if available

 (the “Device List”).

          2.      The Government shall review the Device List and identify to Google the devices

 about which it seeks to obtain Google account identifier and basic subscriber information. The

 Government may, at its discretion, identify a subset of the devices.

          3.      Google shall disclose to the Government identifying information, as defined in 18

 U.S.C. § 2703(c)(2), for the Google Accounts associated with each device ID appearing on the

 Device List about which the Government inquires.


    II.        Information to Be Seized

    All information described above in Section I that constitutes evidence of violations of Title 18,

 United States Code Sections 13, 1151, and 1152 as well as a violation of Title 47, Oklahoma

 Statutes, Section 10-102.1 on March 18, 2021 involving unknown person(s).
